       Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 1 of 9



                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

_____________________________________
MONICA LINDEN,                                )
on behalf of herself and all others similarly )
situated,                                     )
                      Plaintiff               )
                                              )
v.                                            )       Civil Action No.
                                              )
                                              )
HCL COLLECTIONS SOLUTIONS,                    )
LLC. d/b/a Account Recovery Services          )
                                              )
                      Defendant               )



                            COMPLAINT AND JURY CLAIM

                                   Introductory Statement

          Plaintiff and putative class members are Massachusetts residents whose rights

have been violated by Defendant’s unlawful consumer debt collection activities.

Defendant’s collection activities were unlawful because at all relevant times Defendant

was not licensed as a debt collector by the Division of Banks, as required by

Massachusetts law.

                                            Parties

1. Plaintiff Monica Linden is an individual who at times relevant to this complaint has resided

in Franklin, Norfolk County, Massachusetts.

2. Defendant HCL Collections Solutions, LLC, is a Rhode Island limited liability company

which conducts business in the Commonwealth of Massachusetts and has a principal place of

business in East Greenwich, Rhode Island.




                                               1
       Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 2 of 9



                                     Jurisdiction and Venue

3. Plaintiff’s claims arise under 15 U.S.C. §1692 et seq. and this Court therefore has

subject matter jurisdiction over said claims pursuant to 15 U.S.C. §1692k(d) and 28

U.S.C. §1337. This Court also has supplemental jurisdiction pursuant to 28 U.S.C. §1367

to hear and adjudicate plaintiff’s claims arising under state law.

4. Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

     Facts relating to Defendant’s activities as a debt collector in Massachusetts

5. Massachusetts law provides that “[n]o person shall directly or indirectly engage in the

commonwealth n the business of a debt collector . . . without first obtaining from the [banking]

commissioner a license to carry on the business . . . “

6. Under the Massachusetts Debt Collection Law (“DCL”), a “debt collector” is defined first

as “any person who uses an instrumentality of interstate commerce or the mails in any

business the principal purpose of which is the collection of a debt.” G.L c. 93, §24.

Under the DCL, a “debt collector” is also defined as a person “who regularly collects or

attempts to collect, directly or indirectly, a debt owed or due or asserted to be owed or due

another.” G.L c. 93, §24.

7. Under the DCL, the term “debt” is defined as a monetary obligation incurred primarily for

personal, family, or household purposes., otherwise known as a “consumer debt.” G.L. c. 93,

§24; 209 CMR 18.02.

8. During times relevant to this complaint, Defendant used the mails, telephone lines, the

electrical grid, wireless communication systems, and other instrumentalities of interstate

commerce to enter into contractual arrangements with creditors and to collect and attempt

to collect consumer debts from Massachusetts residents. In addition, payments made by



                                                  2
       Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 3 of 9



consumers as a result of Defendant’s debt collection activities constituted its principal (if

not only) source of income. Thus, Defendant is a debt collector under the DCL’s first

definition and was required to be licensed.

9. During times relevant to this complaint, Defendant regularly collected and attempted

to collect, regularly or indirectly, consumer debts from against Massachusetts residents,

including but not necessarily limited to sending dunning letters, sending invoices, placing

telephone calls, and receiving payments. On information and belief, Defendant engaged

in hundreds of such activities during the class period. Therefore, Defendant is a debt

collector under the DCL’s second definition and was required to be licensed.

10.   The licensing requirement of the DCL provides important protections for

Massachusetts consumers. Before it may operate as a “debt collector,” an applicant and

its officers and directors must demonstrate to the Commissioner’s satisfaction that their

“financial responsibility, character, reputation, integrity and general fitness . . . are such

as to command the confidence of the public and to warrant the belief that the business . . .

will be operated lawfully, honestly and fairly.” G.L. c. 93, §24B(a). Thus, for example,

the Commissioner may deny a license if the applicant does not have a positive net worth;

has violated any state or federal law governing debt collection practices; has defaulted on

a debt; has committed any dishonest or deceptive act bearing on the applicant’s fitness to

function as a debt collector; or has an adverse credit history. 209 CMR 18.04(2)(a); 209

CMR 18.042)(a)– (f). Debt collection licenses are issued for one-year terms (G.L. c. 93,

§24B(b)), and upon request a licensee must disclose such books and records as to enable

the Commissioner to determine whether it is complying with the requirements of chapter 93

and all laws and regulations covering debt collection practices in Massachusetts. G.L. c. 93,



                                               3
        Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 4 of 9



§24D.

11.   The failure to comply with the Massachusetts licensing statute constitutes a per se

violation of G.L. c. 93A, §2. Such failure also constitutes a criminal offense. G.L. c. 93, §28.

12. At no time relevant to this complaint was Defendant licensed as a debt collector in

Massachusetts.

13. A large number of Massachusetts residents against whom Defendant took or

threatened collection action paid money toward satisfying debts, and in all or most of

these instances Defendant earned a fee as a result. In addition, some of these persons

paid money to attorneys for legal representation in defending against Defendant’s actions.

14. At present, Defendant remains unlicensed in Massachusetts yet continues to collect

and attempt to collect consumer debts in the Commonwealth, causing class members

financial loss and other harm. Massachusetts consumers have been injured and will continue to

be injured by Defendant’s unlawful conduct unless this Court issues appropriate relief.

                                  Facts Relating to Plaintiff

15. Defendant sent Plaintiff a letter dated December 29, 2016, seeking payment of a

consumer debt owed to Rhode Island Hospital for medical services provided to Plaintiff’s

son, which letter Plaintiff received.

16. On December 29, 2016, Defendant was required to be licensed as a debt collector in

Massachusetts, but was not.

17. Plaintiff investigated the debt which was the subject of Defendant’s letter and

determined that it was covered by insurance. The debt was paid by Plaintiff’s insurance

company.

18. On information and belief, as a result of payment of the bill for which Plaintiff was



                                                4
       Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 5 of 9



dunned, Defendant received a fee from the creditor.

                                    Class action allegations

19.   Plaintiff brings this complaint on behalf of herself and a class of other persons similarly

situated. The class consists of all Massachusetts residents against whom, within four (4)

years of the filing of this action, Defendant took any action to collect or attempt to collect

a consumer debt, including but not limited to the activities set forth in paragraph 9,

above. Excluded from the class are all past and present employees, agents, officers, and

directors of Defendant, and persons who have released Defendant from liability. On

information and belief, there are at least one hundred class members, making joinder

impracticable.

20. There are questions of law and fact common to the class, which common issues

predominate over any issues peculiar to individual class members. The principal

common issues are whether Defendant was a debt collector under Massachusetts law,

whether Defendant was required to be licensed as a debt collector in Massachusetts,

whether Defendant was licensed as a debt collector in Massachusetts, whether Defendant

was engaged in trade or commerce in Massachusetts, and whether Defendant’s conduct

violated the rights of class members as set forth herein. The only individual questions

involve the amounts of actual damages and other relief to which class members are entitled.

21.    Plaintiff’s claims are typical of the claims of class members. All claims are

based on the same legal theories, and all arise from the same course of conduct.

22. Plaintiff will fairly and adequately protect the interests of all class members. Plaintiff is

committed to a vigorous and successful prosecution of this action, is familiar with the legal and

factual issues involved, and has retained counsel experienced in the litigation of consumer rights



                                                 5
       Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 6 of 9



cases, including consumer class actions. Neither Plaintiff nor counsel have any interest or

conflict that might cause them to not vigorously pursue this action.

23.   A class action is superior to other available methods for the fair and efficient

adjudication of this controversy, since: (a) the financial losses suffered by a substantial

number of class members are such that it would be economically unfeasible for them to

individually litigate their claims; (b) the factual and legal issues common to all class

members far outweigh any individual questions; (c) the prosecution of separate lawsuits

by individual class members would entail the risk of inconsistent and conflicting

adjudications; and (d) there will be no unusual or extraordinary management difficulties

in administering this case as a class action.

            COUNT I: Violations of the Fair Debt Collection Practices Act

24. The allegations of paragraphs 1 – 23 are incorporated herein as if fully set forth.

25. At all relevant times Defendant was a “debt collector” within the meaning of §1692a.

of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

26. Through its debt collection activities in Massachusetts, including but not limited to

those set forth in paragraph 9, above, Defendant took and threatened to take actions that

could not legally be taken.

27. Defendant’s conduct violated 15 U.S.C. §1692e(5).

28. Plaintiff was harmed by being subjected to collection activity that could not legally

be taken. Class members were harmed by being subjected to, or threatened with,

collection activity that could not legally be taken and, in some cases, by paying money

which could not lawfully be collected and/or paying money for legal representation.

        WHEREFORE, Plaintiff prays for judgment against Defendant:



                                                 6
       Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 7 of 9



        (a) Awarding actual damages;

        (b) Awarding statutory damages;

        (c) Awarding interest, costs, and reasonable attorney’s fees;

        (d) Awarding such further relief as shall be just and proper.

                              COUNT II: Violations of G.L. c. 93A

29.     The allegations of paragraphs 1 – 23 are incorporated herein by reference as if

fully set forth.

30.     At all relevant times, Defendant was engaged in trade or commerce in

Massachusetts within the meaning of G.L. c. 93A, §1.

31.    Defendants committed unfair and deceptive acts and practices in violation of G. L. c.

93A, §2. Defendant’s unfair and deceptive activities consisted of collecting and attempting to

collect consumer debts while unlicensed in violation of G. L. c. 93, §§24-28, and taking and

threatening to take actions that cannot legally be taken in violation of 15 U.S.C. §1692e(5) and 209

C.M.R. 18.16(5).

32.    Defendant’s unlawful conduct was knowing and/or willful within the meaning of G.L. c.

93A, §9.

33.   Plaintiff was harmed by being subjected to unlawful collection activity. Class

members were harmed by being subjected to unlawful collection activities, and in some

cases by paying money which could not lawfully be collected and/or by paying money

for legal representation.

34.   On May 8, 2017, Plaintiff sent Defendant via certified mail, return receipt

requested, a demand for relief pursuant to G.L. c. 93A, §9, which demand reasonably

described the unlawful acts and practices complained of and injuries suffered. Thirty



                                                 7
       Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 8 of 9



(30) days have elapsed since Defendant’s receipt of Plaintiff’s demand, and Defendant

has not made a reasonable written tender of settlement in response to the demand.

35. Defendant’s refusal to make a timely, reasonable, and written tender of settlement

was in bad faith with knowledge or reason to know that its conduct violated G.L. c. 93A,

§2.

       WHEREFORE, Plaintiff prays for judgment against Defendant:

            (a) Awarding actual damages or $25.00, whichever is greater, to each class member;

            (b) Doubling or trebling the amounts of actual damages;

            (c) Enjoining Defendant from collecting or attempting to collect consumer debts in
                Massachusetts without a debt collection license;

            (d) Awarding interest, costs, and reasonable attorney’s fees;

            (e) Ordering such further relief as shall be just and proper.


                                  COUNT III: Unjust Enrichment

36. The allegations of paragraphs 1 – 23 are incorporated herein as if fully set forth.

37. Defendant earned fees as a result of its collection activities against Plaintiff and class

members.

38. Defendant has been unjustly enriched by obtaining fees as a result of its unlawful

debt collection activities in Massachusetts, including but not limited to those described in

paragraph 9, above.

        WHEREFORE, Plaintiff prays for judgment against Defendant:

        (a) Ordering disgorgement of all fees obtained due to collection activities taken

        against Plaintiff and class members;

        (a) Awarding interest, costs, and reasonable attorney’s fees;



                                                   8
Case 1:17-cv-11598-PBS Document 1 Filed 08/25/17 Page 9 of 9



(b) Ordering such further relief as shall be just and proper.



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                                      9
